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FILED PINAL COUNTY .
SUPERIOR COURT-CASA GRANDE
AMANDA STANFORD

| MAR 29 2017

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF PINAL

SCOTT STROBEL; SUSAN STROBEL;
RYAN STROBEL; LARRY STROBEL;
and LOGAN STROBEL, A Minor, by and
through his next friend, SCOTT STROBEL,

Plaintiffs,

vs.

|THE PINAL COUNTY SHERIFF’S
OFFICE; THE PINAL COUNTY
ATTORNEY’S OFFICE; THE PINAL
| COUNTY BOARD OF SUPERVISORS;
DOES I-XX and BLACK & WHITE
CORPORATIONS I-V,

Defendants.

Case No.: CV2017-00435

MOTION TO DISMISS

[Assigned to Honorable Stephen F.
McCarville]

Pursuant to Ariz.R.Civ.P. 12(b), Defendants Pinal County Sheriff's Office, Pinal

County Attorney’s Office, and the Pinal County Board of Supervisors [hereinafter and

collectively, the “Pinal County Defendants”], through undersigned counsel, hereby submit their
Motion to Dismiss requesting that Plaintiffs’ Complaint be dismissed. This Motion is supported

| by the attached Memorandum of Points & Authorities.

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RESPECTFULLY SUBMITTED this Aq day of March, 2017.

JELLISON LAW OFFICES, P.L.L.C.

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J M. Jallison
Attomey'fo Pinal County Defendants

MEMORANDUM OF POINTS & AUTHORITIES

I. INTRODUCTION.
On or about March 3, 2017, Plaintiffs filed their Complaint. The Complaint arises from

allegations associated with a criminal investigation and grand jury indictment occurring in the
November 2015 to March 2016 timeframe. Plaintiffs allege state law claims only, which
include 1) Defamation with Actual Malice and/or Defamation with Negligence, 2) Infliction of
Emotional Distress, 3) Wanton and Willful Conduct (Aggravated Negligence), and 4)
| Constructive Discharge.

II. STANDARD OF REVIEW.

Arizona courts assess the sufficiency of a claim under Rule 8’s requirement that a
pleading contain a “short and plain statement of the claim showing that the pleader is entitled
to relief.” Ariz.R.Civ.P. 8. Arizona follows the notice pleading standard, the purpose of
which is to “give the opponent fair notice of the nature and basis of the claim and indicate
generally the type of litigation involved.” Mackey v. Spangler, 81 Ariz. 113, 115, 301 P.2d
| 1026, 1027-28 (1956). Ifa pleading does not comply with Rule 8, an opposing party may
move to dismiss the action for “[flailure to state a claim upon which relief can be granted.”
Ariz. R. Civ. P. 12(b)(6). When adjudicating a Rule 12(b)(6) motion to dismiss, Arizona
courts look only to the pleading itself and consider the well-pled factual allegations contained
therein. See, e.g., Dressler v. Morrison, 212 Ariz. 279, 281, 130 P.3d 978, 980 (2006); Long

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v. Ariz. Portland Cement Co., 89 Ariz. 366, 367-68, 362 P.2d 741, 742 (1961). Courts must
also assume the truth of the well-pled factual allegations and indulge all reasonable inferences
therefrom. Doe ex rel. Doe v. State, 200 Ariz. 174, 175, 24 P.3d 1269, 1270 (2001); Long, 89
Ariz. at 367, 362 P.2d at 742. Because Arizona courts evaluate a complaint's well-pled facts,
mere conclusory statements are insufficient to state a claim upon which relief can be granted.
The inclusion of conclusory statements does not invalidate a complaint, Zong, 89 Ariz. at
369, 362 P.2d at 743, but a complaint that states only legal conclusions, without any
supporting factual allegations, does not satisfy Arizona's notice pleading standard under Rule
8. Cullen v. Auto-Owners Ins. Co. 218 Ariz. 417, 419, 189 P.3d 344, 346 (Ariz. 2008). A
motion to dismiss is properly granted where the plaintiff is not entitled to any relief under the
facts stated in the complaint for the legal claims asserted. See, Donnelly Constr. Co. v.
Oberg/Hunt/Gilleland, 139 Ariz. 184, 186, 677 P.2d 1292, 1294 (1984), overruled on other
grounds, Gibson v. Kasey, 214 Ariz. 141, 150 P.3d 228 (2007).

Wl. STATEMENT OF FACTS.

Under the applicable standard of review for a Rule 12(b) motion to dismiss, the Pinal
County Defendants will state the well-pled allegations of Plaintiffs’ Complaint as if they were
true. Defendants’ citation to these facts are done for purposes of this Motion only, and should
not be construed as a general agreement with any alleged fact.

Between approximately November, 2015, and March, 2016, the Pinal County Sheriff's
Office is alleged to have initiated and conducted criminal and internal investigations which
targeted Pinal County Sheriffs Deputy Scott Strobel. (Complaint, [{7-9). Prior to that,
during approximately 2011 and 2012, Strobel was president of the Pinal County Deputies

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Association, which Association had opposed the re-election of then-Sheriff Paul Babeu.
(Complaint, 9{10-15)!.

On March 2, 2016, the Pinal County Attorney’s Office and Pinal County Sheriff's
Office are alleged to have participated in Grand Jury proceedings in which they allegedly
failed to present information in a fair and impartial manner, allegedly provided false and
misleading information, and alleged failed to provide exculpatory evidence. (Complaint,
25). On March 4, 2016, and at some time or times subsequent, the Pinal County Sheriff's
Office and/or the Pinal County Attorney’s Office are alleged to have made some false
statement or statements to the press, or third parties. (Complaint, 9933-35).

Plaintiff Strobel alleges that on March 23, 2016, he was provided with a notice of
termination, even though the internal investigation was completed on March 24, 2016, and
signed-off by a supervisor on March 31, 2016. (Complaint, 926-28).

On April 26, 2016, Stobel’s attorney filed a motion for remand for a new finding of
probable cause on the grounds that the Pinal County Attorney’s Office and Pinal County
Sheriff's Office allegedly failed to present information in a fair and impartial manner to the
Grand Jury, allegedly provided false and misleading information, and alleged failed to
provide exculpatory evidence. (Complaint, §29). The case was re-presented to the Grand
Jury, allegedly with the additional facts demanded by Strobel’s attorney, with no resulting
indictment. (Complaint, 430-3 1).

' Although the Complaint goes on to make several vague allegations in paragraphs 18-23 that
Sheriff Babeu provided certain instructions and directives regarding the criminal and internal
investigations, and allegedly met with then-County Attorney Lando Voyles regarding the
criminal investigation and criminal charging, none of these allegations provide non-
conclusory factual allegations that may be relied upon. See, Cullen, supra. Even if this Court
credits these allegations, the analysis contained in this Motion remains unaffected.

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Strobel later obtained a reversal of his job termination through the merit process,
though the Sheriff's Office continued to maintain, during those proceedings, that Strobel had

committed a sex crime. (Complaint, 953).

IV. LEGAL ANALYSIS.

A. The Pinal County Sheriff's Office And Pinal County Attorney’s Office
Are Not Jural Entities Subject To Suit.

The Pinal County Sheriff's Office and Pinal County Attorney’s Office move for

dismissal because they are not jural entities, and, thus, are incapable of being sued in their

own name. Under Arizona law, “[g]overnment entities have no inherent power and possess

| only those powers and duties delegated to them by their enabling statutes. Thus, a

governmental entity may be sued only if the legislature has so provided.” Braillard v.

Maricopa County, 224 Ariz. 481, 232 P.3d 1263, 1269 (App. 2010) (citations omitted), In

| Braillard, the Arizona Court of Appeals recognized, at that time, the question of “[wJhether

MCSO [the Maricopa County Sheriff's Office] is a nonjural entity is apparently an issue of

first impression in our state courts.” Id. The Court noted, “fa]lthough A.R.S. §11-—201(A)(1)
provides that counties have the power to sue and be sued through their boards of supervisors,
no Arizona statute confers such power on MCSO as a separate legal entity.” Id. Braillard
“therefore conclude[d] MCSO is a nonjural entity and should be dismissed from th[e] case.”
| 1a. .
A.R.S. §§11-441, et. seq. and 11-532 prescribe the powers and duties of County
Sheriffs and County Attorneys which, unlike A.R.S. §11-201(A)(1), do not include the power

to sue or be sued. In addition to the controlling authority found in Braillard, the U.S. District
Court for Arizona routinely finds that Sheriffs and County Attorney’s Offices are non-jural
entities and have dismissed them when named as parties. Wilson v. Yavapai County Sheriff's

Office, 2012 WL 1067959, at *4 (D. Ariz. 2012); Dugmag v. Pima Cnty. Sheriff's Dep't, 2012

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WL 1605888 (D. Ariz. 2012); Tarantino v. Dupnik, 2012 WL 1718893 (D. Ariz. 2012);
Ekweani v. Maricopa Cnty. Sheriff's Office, 2009 WL 976520, at *2 (D. Ariz. 2009); Payne v.
Arpaio, 2009 WL 3756679, *3, 8 (D. Ariz. 2009).

The Pinal County Sheriff's Office and Pinal County Attorney’s Office have no
statutory authority to be sued and, therefore, must be dismissed from this action. See,

Braillard.

B. The Pinal County Board Of Supervisors Is Not A Proper Party Under
The Facts Alleged.

For the state law tort claims, it is fundamental that vicarious or respondeat superior
liability exists only for the actions of employee for whom the Pinal County Board of
Supervisors has the right of control. Robarge v. Bechtel Power Corp., 131 Ariz. 280, 283,
640 P.2d 211, 214 (App. 1980) (in order to hold an employer vicariously liable for the
negligent acts of its employee, “the employee must be subject to the employer’s control or
right of control.”)

Applying this principle, in State v. Pima County Adult Prob. Dept., 147 Ariz. 146,
149-50, 708 P.2d 1337, 1340-41 (App. 1985), the court concluded there can be no vicarious
liability on a County for the conduct of probation officers because, although the funds,
facilities, and equipment are provided by the county, the right of control rests with the courts.
Similarly, in Yamamoto v. Santa Cruz County Ba. of Super., 124 Ariz. 538, 540, 606 P.2d 28,
30 (App. 1980), the court held that because a county board of supervisors has no right to
control the activities of the justice of the peace, justice of the peace clerk, or superior court
clerk, the county cannot be held liable on a theory of respondeat superior for their alleged
negligence. See also, Hernandez v. Maricopa County, 138 Ariz. 143, 146, 673 P.2d 341, 344
(App. 1983) (no county liability because “Maricopa County has no power to control the

implementation and execution of [justice of the peace] duties”). As for law enforcement

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personnel, in Hounshell v. White, 220 Ariz. 1, 6, 202 P.3d 466, 471 (App. 2008), the court
held that, in the absence of specific statutory authority, a county board of supervisors does not
have the right or ability to supervise and impose discipline on a sheriffs deputy.

Indeed, under A.R.S. §11-251, the powers of Pinal County, and its Board of
Supervisors, do not extend to having control over Sheriff or County Attorney personnel in the
exercise of statutorily mandated duties, and therefore, the doctrine of respondeat superior
does not apply to impose liability on the County. See, e.g., Vacaneri v. Ryles, 2014 WL
| 1152883, p. 2 (D.Ariz. 2014) (county not vicariously liable for alleged actions of Sheriff's
Deputy); Nevel v. Maricopa County, 2012 WL 1623217, p. 4 (D.Ariz. 2012) (county cannot
be held liable for alleged liability arising from county Jail operations); Guillory v. Greenlee
County, 2006 WL 2816600, at *12 (D.Ariz. 2006) (county cannot be held liable for law
enforcement decisions by sheriff's personnel); Fridena v. Maricopa County, 18 Ariz.App.
527, 530, 504 P.2d 58, 61 (1972) (no control over sheriff in service of writs of restitution,

therefore, no liability under doctrine of respondeat superior liability).

The duties of the Sheriff, who is an elected official, are imposed by statute. The
legislature has imposed statutory duties on the Sheriff (and not the Board of Supervisors) that
require the Sheriff to, among other things, “preserve the peace,” make “arrest[s],” and
perform other law enforcement activities. A.R.S. §11-441(A); 1990 Ariz. Op. Atty. Gen. 16,
No. 190-007; Ariz. Op. Atty. Gen. 66-4; Ariz. Op. Atty. Gen. 65-10-L. The duties of the
County Attorney, who is an elected official, are likewise imposed by statute. The legislature
has imposed statutory duties on the County Attorney (and not the Board of Supervisors) that
require the County Attorney to “[a]ttend the superior and other courts within the county and
conduct, on behalf of the state, all prosecutions for public offenses.” A.R.S. §11-532(A)(1).

Here, the Pinal County Board of Supervisors has no power to control the

implementation and execution of the Sheriff's law enforcement activities alleged, or the

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decisions and actions of the elected Sheriff regarding personnel issues. Likewise, the Pinal
County Board of Supervisors has no power to control the implementation and execution of
the public prosecution activities alleged, or the decisions and actions of the elected County
Attorney, or his personnel. There is, therefore, no master-servant or principal-agent
relationship, such that the doctrine of respondeat superior can be invoked to impute liability
to Pinal County (or its Board of Supervisors) for the alleged acts of the Sheriff, or his
Deputies, or those of the County Attorney, or his personnel.

C. Plaintiffs Have Failed To State A Claim For Defamation.

In order to make a claim for defamation, Plaintiffs must show that 1) Defendants made
a false statement concerning Deputy Strobel; (2) the statement was defamatory, (3) the
statement was published to a third party, (4) the statement was made with actual malice, and
(5) Deputy Strobel was damaged as a result of the statement. See, Morris v. Warner, 160
Ariz. 55, 63, 770 P.2d 359, 367 (App. 1988). The false statement alleged must be one of
objective fact, that may be provable as false. Turner v. Devlin, 174 Ariz. 201, 208, 848 P.2d
286, 293 (1993); Burns v. Davis, 196 Ariz. 155, 165, 993 P.2d 1119, 1129 (App. 1999).

Although Plaintiff makes vague and conclusory allegations regarding a “false
statement,” the Complaint has no actual false statements of fact. (Complaint, {]33-35).
Without sufficient, non-conclusory allegations showing a false statement of fact published to
a third party, under circumstances supporting actual malice, no defamation claim has been
stated. .

D. Plaintiffs Have Failed To State A Claim For Infliction Of Emotional
Distress.

The elements of the intentional infliction of emotional distress claim in Arizona are (1)
the defendant's conduct must be extreme and outrageous; (2) the defendant must either intend

or recklessly disregard the near certainty that emotional distress will result from the conduct;

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and (3) the conduct must actually cause severe emotional distress. Ford v. Revlon, 153 Ariz.
38, 43, 734 P.2d 580, 585 (1987). Plaintiffs’ allegations are insufficient to support the tort, as
there are no well-pled allegations showing the kind of “extreme and outrageous” behavior
necessary to support the claim. Here, Plaintiff alleges he was the subject of a criminal and
internal investigation, was indicted by a Grand Jury and Strobel was fired shortly thereafter,
but was able to obtain a reversal of the Grand Jury finding and reinstatement to his position.
More severe allegations have been considered, and rejected, by Arizona courts as supporting
the intentional infliction claim. Wallace v. Casa Grande Union High Sch. Dist. No. 82 Bd. of
Governors, 184 Ariz. 419, 909 P.2d 486, 494-95 (App. 1995) (no intentional infliction claim
where employer did not renew employment contract, reduced compensation during the term
of her contract, slandered and ridiculed employee, unfairly singled her out for discipline on
performance grounds, and threatened her with termination); Nelson v. Phoenix Resort

Corporation, 181 Ariz. 188, 888 P.2d 1375 (App.1994) (no claim when job termination done

in front of press and after escort by armed guards); Hunley v. Orbital Sciences Corp., 2006

WL 2460631, p. 4 (D. Ariz. 2006) (no viable intentional infliction claim upon allegations that
the employer’s supervisor “exerted excessive and undue control and inflexibility over the
time and conditions of Plaintiff's performance review meetings” and “treated Plaintiff with
total hostility and one-sided, false, unfair, and unfounded verbal criticism during each of these
interviews.”).

To the extent Plaintiffs’ claim relies on a theory of negligent infliction of emotional
distress, that claim too must be dismissed as Plaintiffs do not allege that Strobel suffered a
manifest physical injury. Keck v. Jackson, 122 Ariz. 114, 116, 593 P.2d 668, 670 (1979).

E. Plaintiffs’ Fail To State A Negligence Claim.

“To establish a claim for negligence, a plaintiff must prove four elements: (1) a duty

requiring the defendant to conform to a certain standard of care; (2) a breach by the defendant

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of that standard; (3) a causal connection between the defendant's conduct and the resulting
injury; and (4) actual damages.” Gipson v. Kasey, 214 Ariz. 141, 143, 150 P.3d 228, 230
(2007) (citation omitted). Duty is an “obligation, recognized by law, requiring the
[defendant] to conform to a certain standard of conduct, for the protection of others against
unreasonable risks.” Ontiveros v. Borak, 136 Ariz. 500, 504, 667 P.2d 200, 204 (1983)
(quoting W. Prosser, Handbook on the Law of Torts §30, at 143 (4 ed.1971)). “The
existence of a duty is a question of law that [the courts] review de novo.” Diaz v. Phoenix
Lubrication Serv., Inc., 224 Ariz. 335, 338, 230 P.3d 718, 721 (App. 2010) (citing Ritchie v.
Krasner, 221 Ariz. 288, 295, 211 P.3d 1272, 1279 (App. 2009)). “Whether the defendant
owes the plaintiff a duty of care is a threshold issue.” Gipson, 214 Ariz. at 143, 150 P.3d at
230; Diaz, 224 Ariz. at 338, 230 P.3d at 721. A negligence action cannot be maintained
absent a duty. Diaz, Id. -Duty is “an expression of the sum total of those considerations of
policy which lead the law to say that a particular plaintiff is entitled to protection.” Ontiveros,
136 Ariz. at 508, 667 P.2d at 208, quoting William L. Prosser, Handbook on the Law of T orts
$42, at 324-27 (4 Ed.1971). “Courts traditionally ‘fix the duty point by balancing factors,
including the reasonable expectations of parties and society generally, the proliferation of
claims, the likelihood of unlimited or insurer-like liability, disproportionate risk and
reparation allocation, and public policies affecting the expansion or limitation of new
channels of liability.’” Bloxham v. Glock Inc., 203 Ariz. 271, 53 P.3d 196, 200 (App. 2002),
quoting Hamilton v. Beretta U.S.A. Corp., 96 N.Y.2d 222, 727 N.Y.S.2d 7, 750 N.E.2d 1055,
1060 (2001), quoting Palka v. Servicemaster Mgmt. Servs. Corp., 83 N.Y.2d 579, 611
N.Y.S.2d 817, 634 N.E.2d 189, 193 (1994). By way of example, in Vasquez v. State, 220
Ariz. 304, 315-316, 206 P.3d 753, 764-765 (App. 2008), the court considered the principles

in Gipson and: Bloxham, holding that a county law enforcement agency does not owe a duty

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to a decedent’s surviving family members to conduct a certain type of investigation relative to
identifying human remains, or to notify the surviving family members of a death.

In Vasquez, the court specifically held that Plaintiff Vasquez could maintain no claim
on a theory that the County had “negligently” failed to identify her son’s remains because the
court determined there was no duty. 220 Ariz. at 317-18, 206 P.3d at 766-67.

Plaintiffs’ negligence claim alleges negligence in conducting the investigation and
prosecution of Strobel, and the manner in which the Sheriff’s Office presented its case at the
merit proceedings. (Complaint, 4948-49). Defendants are unaware of any “duty” in tort that
supports a negligence claim for negligent investigation, negligent prosecution, or negligent
posturing in a contested administrative proceeding. Without any showing of duty under the
circumstances alleged, the negligence claim must be dismissed.

Plaintiff’s Fail To State A Claim Under A.R.S. §23-1502.

Plaintiffs allege that the position taken by the Sheriff's Office during administrative

|| proceedings that Strobel had committed a sexual crime somehow works as a “constructive

discharge” under A.R.S. §23-1502. (Complaint, 952-54). Plaintiffs’ alleged facts do not

support the claim.

To succeed on this claim, the plaintiff-employee must show either (1) working

conditions that are so objectively difficult or unpleasant that a reasonable employee would

feel compelled to resign; or (2) outrageous conduct by the employer, such as sexual assault or

threats of violence, that would similarly compel a reasonable employer to resign. A.R.S. §
23—1502(A)(1)}{(2). Under the first provision, the plaintiff-employee must give at least fifteen
days' notice of the intent to resign because of unpleasant or difficult working conditions. See
ARS. § 23-1502(A)(1), (B).

Here, Plaintiffs’ Complaint alleges no objectively difficult or unpleasant working

conditions such that Scott Strobel would feel compelled to resign, that he did, in fact, resign

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his position, of that there is an underlying, valid employment law violation to support the
constructive discharge claim. Finally, there is no allegation that Strobel gave a fifteen days’
written notice of intent to resign. Plaintiffs fail to state any kind of claim under A.R.S. § 23-

1502.
G. Plaintiff Scott Strobel’s Children Have No Independent Claim.

As for the state law claims, although Arizona law allows for a loss of consortium
claim, a child may maintain a cause of action for loss of a parent's consortium only when the
parent suffers a severe, permanent, and disabling injury that substantially interferes with the
parent’s capacity to interact with the child in a normally gratifying way. Pierce v. Casas
Adobes Baptist Church, 162 Ariz. 269, 272, 782 P.2d 1162, 1165 (1989); Villareal v. State,
160 Ariz. 474, 480, 774 P.2d 213, 219 (1989). In this case, there is nothing close to a severe,
permanent, or disabling injury having been inflicted on Scott Strobel; nor does being charged
with a crime, fired from a job, or participating in a merit proceeding, necessary “evidence of
significant interference” with the core parent-child relationship. See, Breeser v. Menta
Group, Inc., Nfp, 2011 WL 1465523, pgs. 8-9 (D. Ariz. 2011) (alleged tortious action
resulting in loss of home, unemployment, financial hardship and strained relationships
insufficient to state plausible claim for loss of parent-child consortium). Under state law,
Strobel’s children have no independent or derivative cause of action.

Vv. CONCLUSION.

For all of the foregoing reasons, Plaintiffs’ Complaint must be dismissed in its

entirety.

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DATED this 2 ky of March, 2017.

JELLISON AW OFFICES, PLLC

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James WVi-Jelliggn
Attorney for Pinal County Defendants

ORIGINAL filed
this’ ay of March, 2017 with:

Clerk of Court

Pinal County Superior Court
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Florence, AZ 85232

COPY mailed same date to:

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SUPERIOR COURT”
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Seeded

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IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF PINAL

SCOTT STROBEL: SUSAN STROBEL: ) Case No.: CV 2017-00435
RYAN STROBEL: LARRY STROBEL; and)
LOGAN STROBEL, A Minor, by and through

his next friend, SCOTT STROBEL PLAINTIFFS’ RESPONSE TO

DEFENDANTS’ MOTION TO DISMISS

Vs.
Tort Non-Motor Vehicle/Defamation;
Infliction of Emotional Stress; Wanton and

INAL COUNTY SHERIFIF’S OFFICE;
aE Willful Conduct; and Constructive Discharge

THE PINAL COUNTY ATTORNEY'S )
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OFFICE TIE PAL COUNTY BOARD OF) aged te rate Seve
ns . ) McCarville)
WHITE CORPORATIONS I-V,

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Plaintiffs,

Defendants.

I. Introduction

Defendants allege numerous deficiencies with Plaintiffs’ Complaint, but Plaintiffs’ First
Amended Complaint, filed simultaneously herewith, cures any defects. Further, under Arizona’s
notice pleading standard. Plaintiffs’ Complaint states a claim upon which relief can be granted.

Il. Plaintiff's First Amended Complaint cures any defect in the pleadings.

This Court will not grant any motion to dismiss if the alleged defect in the pleadings can be
cured with an amendment. “Before the trial court grants a Rule 12(b)(6) motion to dismiss, the

non-moving party should be given an opportunity to amend the complaint if such an amendment

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cures its defects.” Wigglesworth v. Mauldin, 195 Ariz. 432, 426 (App.1999). While a request
for leave to amend is one addressed to the discretion of the trial court, the policy of the rule
favors the liberal allowance of requests to amend. Cagle v. Car, 101 Ariz. 225, 418 P.2d 38]
(1966); Valley Farms, Lid. V. Transcontinental Ins. Co. 206 Ariz. 349, 78 P.3d 1070 (App.
2003). Leave to amend shall be freely given when justice requires. Rule 15 (a)(1) (B). Motions to

amend should be granted unless the court finds a specific reason to deny the amendment.
Timmons v. Ross Dress for Less, Inc., 234 Ariz. 569, 572, 324 P.3d 855, 858 (App. 2014). This

holds true even in the instance where the plaintiff seeks leave to amend to plead new legal
theories and to add wholly new defendants. Green Reservoir Flood Control Dist. v. Willmoth, 15
Ariz. App. 406, 489 P.2d 69 (App. 1971). Defendants maintain that the Pinal County Sheriff's
Office and Pinal County Attorney’s Office are not jural entities, but this is a defect that is easily
cured by Amendment. Ellman Land Corp.v. Maricopa County, 180 Ariz. 331, 884 P.2d 217
(1994).

Here, Plaintiffs file their First Amended Complaint under Ariz. R. Civ. Pro. 15(a)(1)(B)
simultaneously herewith.' The First Amended Complaint names the proper parties, curing the
first defect alleged by Defendants.

The First Amended Complaint names County policy-maker Paul Babeu as a defendant in
both his individual and official capacities. There is some confusion in Arizona's courts as to the
relationship between a county Board of Supervisors and its Sheriff's Office. The sheriff is a
county officer. A.R.S. § 11-401(A)(1). As a county officer, he is subject to the supervision of
the Board of Supervisors. A.R.S. § 11-251(1). However, in a certain, limited contexts,

Arizona's courts have found that where a county Board has no ability to control the Sheriff, there

' Plaintiffs may amend their pleading “as a matter of course” up until the date their response to this motion is due.
Ariz. R. Civ. Pro. 15(a)(1)(B).

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is no county liability for his actions. To that end, Defendants cited two Arizona cases and three
federal cases for the proposition that there is no county liability for the Sheriff or his employees.
However, none of the cases Defendants cite hold that there is no county liability for actions taken!
by the Sheriff himself or that there is no liability for negligence or intentional torts committed in
the conduct of law enforcement’s most basic job function - investigation and arrest — nor that
there is no liability for discriminatory employment actions.

Further, Plaintiffs’ First Amended Complaint includes federal civil rights claims against both
the individual defendants and the County. Plaintiffs assert that the County is liable for the
Sheriff's actions, as well as those of his deputies, under Monell v. Dep't. of Social Services, 436
U.S. 658 (1978) (a governmental entity can be held liable under 42 U.S.C. § 1983 if plaintiff can
show that he suffered a deprivation of civil rights and that a policy or practice of the entity’s was
the moving force behind the violation). It is well-settled law that the Sheriff is a final policy-
maker for purposes of Monell liability, and every federal court in Arizona to consider the issue
has held that the County can be liable for the Sheriff's actions. See, e.g. United States v.
Maricopa County, 915 F.Supp. 2d 1073, 1083-84 (D. Ariz. 2012). Therefore, Pinal County is a
proper party to this litigation.

Il. Plaintiffs have met the notice pleading standard.

Arizona adheres to the notice pleading standard. Cullen v. Auto Owners Ins. Co., 218 Ariz.
417,96 (2008). All that the standard requires is that defendants be given “fair notice of the
nature and basis of the claim and indicate generally the type of litigation involved.” Jd. As long
as a plaintiff supports his claim with factual allegations. which the Court will take as true for
purposes of the motion to dismiss, the Court will not dismiss the case unless no interpretation of

those facts would entitle plaintiffs to relief. Fid. Sec. Life Ins. Co. v. State Dept. of Ins., 191

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Ariz. 222 € 4 (1998) (emphasis added). Plaintiff's have met the standard by alleging facts
which, if true, would entitle Plaintiff's to relief.
a. Defamation

Defendants allege Plaintiffs did not sufficiently plead a claim for defamation. However,
Plaintiffs clearly laid out the circumstances surrounding Pina! County Sheriff's Office (“PCSO”)
“investigation,” including the political disagreement between Plaintiff Strobel and Sheriff Babeu.
From the circumstances, the allegations are sufficient to prove that Babeu acted with malice or
reckless disregard when he issued statements regarding Strobel’s termination and prosecution.
Further, the First Amended Complaint cures any defect in the pleading by alleging specific
defamatory statements. Therefore, Plaintiffs’ claim for defamation should go forward.

b. ITED

Defendants’ move to dismiss Plaintiff's claim for intentional infliction of emotional
distress is premature and based on a mischaracterization of Plaintiff's allegations. Plaintiff
alleges that Defendant Babeu conspired with Defendant Voyles to prosecute Plaintiff for a sex
crime in retaliation for his activities and leadership in the Pinal County Deputies Association.
FAC { 13-18. Defendants’ conduct caused Plaintiff substantial distress, put his freedom at risk,
humiliated him, terrorized him, terrified his family, compromised his health, cost him his job and
some of his friends, ended his career in law enforcement, and ruined his reputation. FAC 4108.
The conduct is made more egregious by its genesis. Plaintiff alleges that the conduct was
undertaken in retaliation for his exercise of his First Amendment rights and for his refusal to
force the Deputies Association to give its political support to Babeu. FAC § 13-25. Taking
those allegations as true, Plaintiffs have established that Defendants’ conduct is extreme and

outrageous.

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c. Negligence
Plaintiffs’ First Amended Complaint has cured any defects related to the negligence

claim.

d. Constructive discharge

Contrary to Defendants’ assertion, A.R.S. § 23-1502 does not require fifteen days’

written notice of intent to resign for a plaintiff to prevail on a claim for constructive discharge.
The statute requires either fifteen days’ written notice or outrageous conduct by the employer
that would make a reasonable employee feel compelled to resign. /d. Here, Plaintiffs’
Complaint alleges that PCSO, an entity tasked with the awesome powers of investigation and
arrest, created a situation that would have compelled a reasonable person to resign. Plaintiffs’
First Amended Complaint further alleges that Defendant Babeu, who was then the head of
PCSO, was engaged in a conspiracy to violate Plaintiff's civil rights. Defendant's conduct (or
the conduct of his subordinate) at the Merit Board only served to underscore his ongoing
animosity toward Plaintiff and continued effort to destroy Plaintiff's career and reputation. If
Plaintiffs’ assertions are taken as true, a reasonable jury could find that an employer (with the
power to arrest) being engaged in a conspiracy to prosecute Plaintiff without probable cause
constitutes outrageous conduct that would compel any reasonable person to resign.

e. Strobel’s children

Defendants mischaracterize the basis of the Strobel children’s complaint. Plaintiffs have not

alleged a complaint for loss of consortium but rather an independent claim on behalf of each of
the children for negligent infliction of emotional distress. Sufficient facts have been laid out to
show that Defendant's’ public campaign targeting Plaintiff Scott Strobel was calculated to

adversely affect not just his reputation and emotional well-being, but his family’s as well.

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IV. Conclusion

Under the generous notice pleading standard followed by Arizona courts, Plaintiffs have
stated claims upon which relief may be granted. Further, any defects contained in Plaintiffs’
Complaint are cured by Plaintiffs’ First Amended Complaint. Therefore, this Court should deny

Defendants’ motion to dismiss and allow Plaintiffs a full and fair opportunity to litigate their

claims.
7.
DATED this !? tay of May, 2017.
ROWLEY LONG & SIMMONS
. PK
Matthew S. Long
Attorney for Plaintiff

ORIGINAL filed
this _10/"day of May, 2017 with:

Clerk of Court

Pinal County Superior Court
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Florence, AZ 85232

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